              Case 2:03-cr-20039-PKH   Document 232     Filed 01/30/13   Page 1 of 1 PageID #: 310



                                         UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF ARKANSAS
                                              FORT SMITH DIVISION


                   UNITED STATES OF AMERICA                                              PLAINTIFF

                         v.              CASE NO. 03CR20039-003

                   SON T. NGUYEN                                                         DEFENDANT



                                                      O R D E R

                         Currently before the Court is a motion by Defendant to

                   terminate his term of supervised release (doc. 227).                 Defendant

                   indicates that he has made timely payments on his fine.                      The

                   Government objects to Defendant’s motion as he was convicted of a

                   serious drug offense and has not stated a sufficient reason for

                   early termination of his supervised release.              (Doc. 231).

                         The Court finds that the benefits of supervised release to

                   Defendant outweigh any burden upon him.               After considering the

                   factors set forth in 18 U.S.C. § 3553, the Court cannot find that

                   termination of his supervised release is warranted. See 18 U.S.C.

                   § 3583(e)(1).       Accordingly, Defendant’s motion (doc. 227) is

                   hereby DENIED.

                         IT IS SO ORDERED this 30th day of January 2013.



                                                            /s/ Robert T. Dawson
                                                            HONORABLE ROBERT T. DAWSON
                                                            UNITED STATES DISTRICT JUDGE




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(Rev. 8/82)
